B 2100A(FormCase
             2100A) 19-19994
                    (12/15)               Doc 53          Filed 04/21/21 Entered 04/21/21 16:25:03                                 Desc Main
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                                 UNITED STATES BANKRUPTCY COURT
                                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                         EASTERN DIVISION


 In re        Ramon Sierra                                                      Case No. 19-19994
              Alice Carrasquillo


                                  TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
referenced in this evidence and notice.

   U.S. Bank National Association, not in its                                      U.S. Bank National Association, not in its
  individual capacity but solely as trustee for                                  individual capacity but solely as trustee for the
      RMTP Trust, Series 2021 BKM-TT                                                   RMAC Trust, Series 2018 G-CTT
              Name of Transferee                                                              Name of Transferor

 Name and Address where notices to                                           Court Claim # (if known):      7-2
 transferee should be sent:                                                  Amount of Claim:      $170,142.03
 Rushmore Loan Management Services, LLC                                      Date Claim Filed:     February 24, 2020
 P.O. Box 55004
 Irvine, CA 92619-2708

 Phone: 888-504-6700                                                         Phone:     888-504-6700
 Last Four Digits of Acct #                3614                              Last Four Digits of Acct #                3614

 Name and Address where transferee payments
 should be sent (if different from above):
 Rushmore Loan Management Services, LLC
 P.O. Box 52708
 Irvine, CA 92619-2708

 Phone: 888-504-6700
 Last Four Digits of Acct #:                3614

I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
knowledge and belief.




 By:       /s/Kinnera Bhoopal                                                                   Date:      4/21/2021
               Transferee/Transferee’s
                  Authorized Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571
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  In Re:                                                Bankruptcy Case No.:   19-19994
            Ramon Sierra
            Alice Carrasquillo                              Chapter:                   13

                                                            Judge:                     Jacqueline P. Cox



                                         CERTIFICATE OF SERVICE

       I, Kinnera Bhoopal, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road, Roswell,
Georgia 30076, certify:

       That I am, and at all times hereinafter mentioned, was more than 18 years of age;

        That on the date below, I served a copy of the within Transfer Of Claim filed in this bankruptcy matter on
the following parties at the addresses shown, by regular United States Mail, with proper postage affixed, unless
another manner of service is expressly indicated:

Ramon Sierra
1907 South Home Avenue
Berwyn, IL 60402

Alice Carrasquillo
1907 South Home Avenue
Berwyn, IL 60402

Rushmore Loan Management Services, LLC
P.O. Box 55004
Irvine, CA 92619-2708

Glenda J. Gray                                 (served via ECF Notification)
Fernandez & Gray
108 West Madison - 2nd Floor
Oak Park, IL 60302

M. O. Marshall, Trustee                        (served via ECF Notification)
55 E. Monroe Street, Suite 3850
Chicago, IL 60603

Patrick S Layng                                (served via ECF Notification)
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.


 Executed on:     4/21/2021              By:      /s/Kinnera Bhoopal
                         (date)                   Kinnera Bhoopal
                                                  Authorized Agent for Transferee
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